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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

PAUL DONOVAN WALDE,
      Plaintiff,
v.                                               Case No. 1:21-cv-124-AW-GRJ
WARREN BROWN and
LEAH HAYES,
     Defendants.
_______________________________/
        ORDER ADOPTING REPORT AND RECOMMENDATION

      I have considered the magistrate judge’s March 29 Report and

Recommendation. ECF No. 18. There has been no objection. I agree with the

magistrate judge and incorporate the report and recommendation into this order.

      The motion to dismiss (ECF No. 8) is GRANTED, and Plaintiff’s claims are

dismissed with leave to amend. The motion to amend (ECF No. 17) is GRANTED.

The amended complaint (ECF No. 21) is ACCEPTED. Defendants must respond to

the amended complaint within 14 days.

      The magistrate judge will conduct further appropriate proceedings.

      SO ORDERED on May 27, 2022.

                                      s/ Allen Winsor
                                      United States District Judge
